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AO 245B (Rev. 09/)   Judgment in a Criminal Case
                       Sheet 1



                                         UNITED STATES DISTRICT COURT
                                                             District
                                                     __________       of Nevada
                                                                 District of __________
                                                                          )
             UNITED STATES OF AMERICA                                     )       JUDGMENT IN A CRIMINAL CASE
                        v.                                                )
                       John Anthony Miller                                )
                                                                          )       Case Number: 2:23-cr-00221-JAD-DJA
                                                                          )       USM Number: 84232-510
                                                                          )
                                                                          )        Jess Marchese, CJA
                                                                          )       Defendant’s Attorney
THE DEFENDANT:
✔ pleaded guilty to count(s)
G                                    Count 1, 2, and 3 of the Indictment [ECF No. 25]
G pleaded nolo contendere to count(s)
   which was accepted by the court.
G was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                                         Offense Ended       Count

18 U.S.C. § 115(a)(1)(B)          Threatening a Federal official                                                            10/17/2023            1
                              Influencing, impeding, or retaliating against a Federal Official by Threatening 10/24/2023                          2
18 U.S.C. § 115(a)(1)(A)
                              a Family Member
18 U.S.C. § 115(a)(1)(A) Influencing, impeding, or retaliating against a Federal Official by Threatening 10/25/2023                 3
                              a Family Member
       The defendant is sentenced as provided in pages 2 through       7       of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G The defendant has been found not guilty on count(s)
G Count(s)                                              G is      G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                                                          5/12/2025
                                                                         Date of Imposition of Judgment




                                                                         Signature of Judge




                                                                                    Jennifer A. Dorsey, United States District Judge
                                                                         Name and Title of Judge


                                                                                                      5/14/2025
                                                                         Date
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                     Sheet 2 — Imprisonment

                                                                                                   Judgment — Page      2       of   7
 DEFENDANT: John Anthony Miller
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                                                          IMPRISONMENT
           The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a
 total term of:

 46 months, per count, concurrent.




      ✔ The court makes the following recommendations to the Bureau of Prisons:
      G
           Based on proximity to family the court recommends a facility close to Desert Hot Springs, California.




      ✔ The defendant is remanded to the custody of the United States Marshal.
      G

      G The defendant shall surrender to the United States Marshal for this district:
          G at                                   G a.m.      G p.m.         on                                              .

          G as notified by the United States Marshal.

      G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          G before 2 p.m. on                                           .

          G as notified by the United States Marshal.
          G as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at                                               , with a certified copy of this judgment.



                                                                                                 UNITED STATES MARSHAL


                                                                        By
                                                                                              DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. ) Judgment in a Criminal Case
                      Sheet 3 — Supervised Release
                                                                                                 Judgment—Page         3       of         7
DEFENDANT: John Anthony Miller
CASE NUMBER: 2:23-cr-00221-JAD-DJA
                                                         SUPERVISED RELEASE
Upon release from imprisonment, you will be on supervised release for a term of:

                                                         3 years, per count, concurrent.




and must comply with the followingVWDQGDUGFRQGLWLRQVPDQGDWRU\FRQGLWLRQVDQGVSHFLDO conditions:

                                           STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
         release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
         frame.
       After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
         when you must report to the probation officer, and you must report to the probation officer as instructed.
       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
         court or the probation officer.
       You must answer truthfully the questions asked by your probation officer.
       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
         arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
         the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
         hours of becoming aware of a change or expected change.
       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
         take any items prohibited by the conditions of your supervision that he or she observes in plain view.
       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
         doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
         you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
         responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
         days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours ofbecoming
         aware of a change or expected change.
       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
         convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
         probation officer.
       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that was
         designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or tasers).
      You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant without
         first getting the permission of the court.
      If WKHSUREDWLRQRIILFHUGHWHUPLQHVWKDW\RXSRVHDULVNWRDQRWKHUSHUVRQ LQFOXGLQJDQRUJDQL]DWLRQ WKHSUREDWLRQRIILFHUPD\
         UHTXLUH\RXWRQRWLI\WKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXUFULPLQDOUHFRUGDQG\RXPXVWFRPSO\ZLWKWKDWLQVWUXFWLRQ7KH
         SUREDWLRQRIILFHUPD\FRQWDFWWKHSHUVRQDQGFRQILUPWKDW\RXKDYHQRWLILHGWKHSHUVRQDERXWWKHVSHFLILFULVNVSRVHGE\\RXUFULPLQDO
         UHFRUG
      You must follow the instructions of the probation officer related to the conditions of supervision.
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                       Sheet 3A — Supervised Release

DEFENDANT: John Anthony Miller                                                                 Judgment—Page       4      of         7
CASE180%(5 2:23-cr-00221-JAD-DJA

                                     MANDATORY CONDITIONS OF SUPERVISION
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release from
     imprisonment and at least two periodic drug tests thereafter, as determined by the court, not to exceed 104 tests annually.
             G The above drug testing condition is suspended, based on the court's determination that you
                   pose a low risk of future substance abuse. (check if applicable)
4.   <RXPXVWFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU




U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


Defendant's                                                                                                       Date
Signature
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                       Sheet 3D — Supervised Release
                                                                                           Judgment—Page   5     of      7
DEFENDANT: John Anthony Miller
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                                         SPECIAL CONDITIONS OF SUPERVISION
 Search and Seizure – You must submit your person, property, house, residence, vehicle, papers, computers (as defined in
 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search
 conducted by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
 You must warn any other occupants that the premises may be subject to searches pursuant to this condition.

 The probation officer may conduct a search under this condition only when reasonable suspicion exists that you have
 violated a condition of supervision and that the areas to be searched contain evidence of this violation. Any search must be
 conducted at a reasonable time and in a reasonable manner.

 Mental Health Treatment – You must participate in an [Outpatient] mental health treatment program and follow the rules
 and regulations of that program. The probation officer will supervise your participation in the program (provider, location,
 modality, duration, intensity, etc.). You must pay the costs of the program subject to the ability to pay.

 Substance Abuse Treatment – You must participate in an outpatient substance abuse treatment program and follow the
 rules and regulations of that program. The probation officer will supervise your participation in the program (provider,
 location, modality, duration, intensity, etc.). You must pay the costs of the program subject to the ability to pay.

 Drug Testing – You must submit to substance abuse testing to determine if you have used a prohibited substance. Testing
 shall not exceed 104 tests per year. You must pay the costs of the testing. You must not attempt to obstruct or tamper with
 the testing methods.

 Residential Reentry Center – You must reside in a residential reentry center for a term up to 180 days. You must follow
 the rules and regulations of the center.
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                       Sheet 5 — Criminal Monetary Penalties
                                                                                                    Judgment — Page       6    of         7
 DEFENDANT: John Anthony Miller
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                                               CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            5HVWLWXWLRQ        )LQH                 $9$$$VVHVVPHQW             -97$$VVHVVPHQW
 TOTALS           $ 300.00                  $ 0.00                 $                      $                           $


 G The determination of restitution is deferred until                     . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 G The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
      before the United States is paid.

 Name of Payee                                                 Total Loss***              Restitution Ordered         Priority or Percentage




 TOTALS                               $                         0.00            $                   0.00


 G     Restitution amount ordered pursuant to plea agreement $

 G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       G the interest requirement is waived for the            G fine    G restitution.
       G the interest requirement for the           G fine      G restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
 *** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.
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AO 245B (Rev. 09/)   Judgment in a Criminal Case
                        Sheet 6 — Schedule of Payments

                                                                                                                Judgment — Page      7      of      7
 DEFENDANT: John Anthony Miller
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                                                         SCHEDULE OF PAYMENTS

 Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ✔ Lump sum payment of $ 300.00
       G                                                         due immediately, balance due

            G     not later than                                     , or
            G     in accordance with G C,            G D,       G E, or         G F below; or
 B     G Payment to begin immediately (may be combined with                   G C,        G D, or       G F below); or
 C     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date of this judgment; or

 D     G Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                            (e.g., months or years), to commence                       (e.g., 30 or 60 days) after release from imprisonment to a
            term of supervision; or

 E     G Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
            imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

 F     G Special instructions regarding the payment of criminal monetary penalties:




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
 Financial Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 G Joint and Several
       Case Number
       Defendant and Co-Defendant Names                                                     Joint and Several                Corresponding Payee,
       (including defendant number)                         Total Amount                         Amount                          if appropriate




 G The defendant shall pay the cost of prosecution.
 G The defendant shall pay the following court cost(s):
 G The defendant shall forfeit the defendant’s interest in the following property to the United States:


 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
 (5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of
 prosecution and court costs.
